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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    NICK VELARDE,                    )       No. CV-F-04-6244 OWW
                                      )       (No. CR-F-02-5451 OWW)
10                                    )
                                      )       ORDER DENYING PETITIONER'S
11                    Petitioner,     )       MOTION TO VACATE, SET ASIDE
                                      )       OR CORRECT SENTENCE PURSUANT
12             vs.                    )       TO 28 U.S.C. § 2255
                                      )
13                                    )
     UNITED STATES OF AMERICA,        )
14                                    )
                                      )
15                    Respondent.     )
                                      )
16                                    )

17        On September 1, 2004, petitioner Nick Velarde timely filed a

18   motion to vacate, set aside, or correct sentence pursuant to 28

19   U.S.C. § 2255.

20        Petitioner contends that his "sentence that was imposed was

21   by the USDC, became illegal & unconstitutional, as well as

22   violating my Sixth Amendment right to a Jury Trial, on

23   06/24/2004, when the U.S. Supreme Court filed their opinion in

24   Blakely v. Washington, 124 S.Ct. 2531 (June 24, 2004).         The USDC

25   erred in sentencing me by considering factors not found by a

26   jury, pursuant to Blakely."

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1          Petitioner's motion is without merit.           Petitioner pleaded

2    guilty pursuant to a written Plea Agreement and was sentenced on

3    September 29, 2003.            Petitioner did not file a Notice of Appeal.

4    Blakely does not apply retroactively to cases on collateral

5    review.      United States v. Cruz, 423 F.3d 1119 (9th Cir.2005),

6    cert. denied ___ U.S. ___, 126 S.Ct. 1181 (2006); Schardt v.

7    Payne, 414 F.3d 1025 (9th Cir.2005).

8          ACCORDINGLY, as set forth above:

9          1.     Petitioner Nick Velarde's motion to vacate, set aside or

10   correct sentence pursuant to 28 U.S.C. § 2255 is DENIED.

11         IT IS SO ORDERED.

12   Dated:     November 27, 2006                /s/ Oliver W. Wanger
     668554                                 UNITED STATES DISTRICT JUDGE
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